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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:
 MIDNIGHT MADNESS DISTILLING LLC,                          CHAPTER 7
              Debtor.                                      Case No. 21-11750-PMM




 BONNIE B. FINKEL, in her capacity as Chapter 7            Adv. No. 23-00047-PMM
 Trustee for Midnight Madness Distilling LLC,

                       Plaintiff,
            v.
 CASEY PARZYCH; SHAWN SHEEHAN; ANGUS
 RITTENBURG; KELLY FESTA; ASHLEIGH
 BALDWIN; MICHAEL BOYER; R.F.
 CULBERTSON; GARY PARZYCH; RYAN
 USZENSKI; POLEBRIDGE, LLC; GOOD
 DESIGN, INC.; AGTECH PA LLC; AGTECH VI,
 LLC; XO ENERGY WORLDWIDE, LLLP; XO
 EW, LLC; CAN MAN LLC; BEST BEV, LLC;
 ETOH WORLDWIDE, LLC; CANVAS 340, LLC;
 FINLAND LEASING CO., INC.; and EUGENE T.
 PARZYCH, INC.,
                  Defendants.

                       STIPULATION FOR EXTENSION OF TIME
                       TO RESPOND TO AMENDED COMPLAINT

        WHEREAS Bonnie B. Finkel, in her capacity as Chapter 7 Trustee (the “Trustee” or

“Plaintiff”) commenced the above captioned adversary proceeding by filing a Complaint on

June 15, 2023 [Adv. D.I. 1];

        WHEREAS on August 22, 2024, Plaintiff filed an Amended Complaint [Adv. D.I. 44];

        IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff and

Defendants AgTech PA LLC, AgTech VI, LLC, Ashleigh Baldwin, Best Bev LLC, Michael

Boyer, Canvas 340, LLC, R.F. Culbertson, EtOH Worldwide LLC, Kelly Festa, Good Design,


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Inc., Casey Parzych, Polebridge, LLC, Angus Rittenburg, Shawn Sheehan, XO EW, LLC, and XO

Energy Worldwide, LLLP (collectively, the “Defendants”), through their undersigned counsel,

that: 1) Defendants will have until September 30, 2024 to file responsive papers to the Amended

Complaint.

        Plaintiff does not waive and reserves all rights to argue that any motions to dismiss the

Amended Complaint are untimely or otherwise improperly filed to the extent that Defendants had

the opportunity to file a motion to dismiss the original Complaint on the same grounds and chose

not to do so, or did so unsuccessfully.


Dated: August 30, 2024

 ARCHER & GREINER, P.C.                             COREN & RESS, P.C.

 /s/ Stephen M. Packman_______________              /s/ Andrew J. Belli
 Stephen M. Packman                                 STEVEN M. COREN
 Douglas G. Leney                                   ANDREW J. BELLI
 Mariam Khoudari                                    Two Commerce Square, Suite 3900
 Three Logan Square                                 2001 Market Street
 1717 Arch Street, Suite 3500                       Philadelphia, PA 19103
 Philadelphia, PA 19103                             Tel: (215) 735-8700
 Phone: (215) 963-3300                              Fax: (215) 735-5170
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 spackman@archerlaw.com                             abelli@kcr-law.com
 dleney@archerlaw.com
 mkhoudari@archerlaw.com                            Counsel for Plaintiff
                                                    Bonnie Finkel, Chapter 7 Trustee
 Counsel for Defendants AgTech PA LLC,
 AgTech VI, LLC, Ashleigh Baldwin, Best Bev
 LLC, Michael Boyer, Canvas 340, LLC, R.F.
 Culbertson, EtOH Worldwide LLC, Kelly
 Festa, Good Design, Inc., Casey Parzych,
 Polebridge, LLC, Angus Rittenburg, Shawn
 Sheehan, XO EW, LLC, and XO Energy
 Worldwide, LLLP




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    KURTZMAN | STEADY, LLC

    /s/ Jeffrey Kurtzman
    Jeffrey Kurtzman, Esquire
    555 City Avenue, Suite 480
    Bala Cynwyd, PA 19004
    Telephone: (215) 839-1222
    Email: kurtzman@kurtzmansteady.com

    Counsel for Defendants Gary Parzych, Ryan
    Uszenski, Can Man LLC, Finland Leasing
    Co., Inc. and Eugene T. Parzych, Inc.


                                                    APPROVED BY THE COURT:


Date: September 3, 2024
                                                    _____________________________________
                                                    Judge Patricia M. Mayer




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